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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:                                       CHAPTER 11

 TILE OUTLETS OF AMERICA, LLC,                CASE NO. 09-61261-pwb

             Debtor.


 IN RE:                                       CHAPTER 11

 TOA HOLDINGS, INC.,                          CASE NO. 09-85614-pwb

             Debtor.



                   DISCLOSURE STATEMENT
            FOR DEBTORS’ PLAN OF REORGANIZATION


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                              Dated: October 16, 2009




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                                I. INTRODUCTION
       This Disclosure Statement (this "Disclosure Statement") has been prepared
pursuant to Section 1125 of the United States Bankruptcy Code on behalf of Tile
Outlets of America, LLC, and TOA Holdings, Inc. (hereinafter referred to
collectively as "Debtors") in connection with Debtors’ solicitation of votes for their
Plan of Reorganization dated October 16, 2009 (the "Plan"). It contains important
information about Debtors and the Plan.
       In providing this Disclosure Statement to parties in interest, Debtors expressly
seek to enable such parties to make an informed judgment on whether to approve
or reject the Plan.

      This Disclosure Statement contains a summary of the Plan, general
information about Debtors and their Chapter 11 cases and important information
concerning Debtors’ current and future financial condition.

       The information contained herein has been prepared by Debtors in good faith,
based upon information available to Debtors. Debtors have never caused any of the
financial information contained herein to be verified by an audit. However, all
financial information was compiled from the records of Debtors.
      The description of the Plan contained in this Disclosure Statement is intended
as a summary only and is qualified in its entirety by reference to the Plan itself,
which is included as an exhibit hereto. Each creditor is encouraged to read,
consider and carefully analyze the terms and provisions of the Plan.

      The statements contained in this Disclosure Statement are made as of the
date hereof, unless another time is specified herein, and delivery of this Disclosure
Statement shall not create an implication that there has been no change in the facts
set forth herein since the date of this Disclosure Statement and the date the
materials relied upon in preparation of this Disclosure Statement were compiled.
       This Disclosure Statement may not be relied on for any purpose other than to
determine how to vote on the Plan, and nothing contained herein shall constitute an
admission of any fact or liability by any party, or be admissible in any proceeding
involving Debtors or any other party, or be deemed conclusive advice on the tax or
other legal effects of the reorganization on holders of claims or interests.

     THIS DISCLOSURE STATEMENT HAS NEITHER BEEN APPROVED NOR
DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION OR ANY
OTHER GOVERNMENTAL AGENCY, NOR HAS THE COMMISSION OR ANY
SUCH OTHER GOVERNMENTAL AGENCY PASSED UPON THE ACCURACY
OR ADEQUACY OF THE INFORMATION CONTAINED HEREIN.
     THIS DISCLOSURE STATEMENT, TOGETHER WITH THE PLAN, WHICH
IS ANNEXED HERETO, SHOULD BE READ IN ITS ENTIRETY. ADDITIONALLY,
IT MAY BE ADVISABLE FOR CREDITORS TO CONSULT THEIR OWN

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COUNSEL OR OTHER ADVISORS WITH RESPECT TO THE MATTERS
CONTAINED HEREIN.
     NO REPRESENTATIONS CONCERNING THE DEBTORS, THEIR FUTURE
BUSINESS OPERATIONS, FINANCIAL CONDITION OR THE VALUE OF THEIR
PROPERTY ARE AUTHORIZED BY DEBTORS OTHER THAN AS SET FORTH
IN THIS DISCLOSURE STATEMENT.       ANY REPRESENTATIONS OR
INDUCEMENTS MADE TO CREDITORS TO SECURE AN ACCEPTANCE OF THE
PLAN WHICH ARE OTHER THAN AS CONTAINED IN THIS STATEMENT
SHOULD NOT BE RELIED UPON IN ARRIVING AT A DECISION.
   II. BRIEF DISCUSSION OF CHAPTER 11 OF THE BANKRUPTCY CODE

       Under Chapter 11 of the Bankruptcy Code a Debtor is afforded an opportunity
to rehabilitate its business and to restructure its financial obligations to its creditors.
In some instances, a Debtor may also change the structure of its equity securities
("interests") by canceling one or more classes of equity securities or issuing new
securities.
       In general, a Debtor files a "Plan of Reorganization" which sets forth a
proposal for settlement of the Debtor's debts. A Debtor's debts are classified as
either being unsecured or secured, depending on whether the Debtor has pledged
any of its property to the creditor as collateral for the debt.

       The Bankruptcy Code (the "Code") requires that certain unsecured debts
receive priority in payment over other debts. Examples of unsecured debts entitled
to priority are expenses and fees incurred during the Chapter 11, wages and certain
employee benefits, certain consumer obligations, and taxes.

       The Code requires that a Plan propose full cash payment to all priority
unsecured creditors except taxing authorities. Taxes under the Code may be paid
over time in installments. Unsecured creditors may receive all or a portion of their
claims under a Plan.

      A Debtor under Chapter 11 may restructure its secured debt by paying its
secured creditors in cash in full or in installment payments. A Debtor may also
arrange for a secured creditor's collateral to be sold or surrendered.
       In any event, unless the creditors agree differently, a Plan must provide
creditors with at least the same consideration which creditors would receive in a
liquidation of Debtor under Chapter 7 of the Code.
       The Debtor or other proponent of a Plan files the Plan with the Clerk of the
Bankruptcy Court. The Code requires that a Plan be accompanied by a Disclosure
Statement. The Disclosure Statement must contain a summary of the Plan and
sufficient information about the Debtor and its financial affairs to enable a creditor
or other party in interest to intelligently determine whether to vote for or against the
Plan.

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      After the Plan and Disclosure Statement are filed, the Court holds a hearing
on the adequacy of the Disclosure Statement. If the Court determines that the
Disclosure Statement makes proper disclosure, then it is approved and the Plan and
Disclosure Statement, along with a ballot are mailed to creditors and equity security
holders for vote.
       Typically, a date is set by the Court as the last day votes may be counted.
The Court also schedules a Confirmation Hearing at which time the votes are
counted and the Court hears evidence as to whether the Plan complies with various
standards for confirmation under the Code. In order for the Plan to be approved by
creditors and interest holders, a vote of two-thirds in amount and a majority in
number of creditors of each class of "impaired" creditors who vote must affirmatively
vote for the Plan.

        If a class of impaired creditors does not accept the Plan, then the Plan may
still be confirmed if it is "fair and equitable" respecting such class. The Code defines
"fair and equitable" regarding unsecured creditors as generally meaning payment of
the entire amount of each creditor's claim or that no class of creditors or interest
holders with a lesser priority will receive any consideration under the Plan.
Regarding secured creditors, "fair and equitable" generally means that the creditor
receives the "indubitable equivalent" of its secured claim or cash or deferred
payments with a present value equal to the amount of the secured claim.

      When a Plan is confirmed notwithstanding the lack of acceptance of all
impaired classes, it is said that the Debtor has effected a "cramdown" of the Plan.
"Impaired" means that the creditor or interest holder is not receiving precisely the
same rights it was entitled to under its contract with the Debtor. Generally, unless
an unsecured creditor receives one hundred percent of its claim in cash, it is said to
be impaired.

      When a Debtor's Plan is confirmed, the Debtor receives a discharge or
release of all indebtedness which it does not pay under the provisions of the Plan.
The discharge applies whether or not a creditor received notice of the Chapter 11
proceeding.

       III. GENERAL INFORMATION AND BACKGROUND CONCERNING
            DEBTORS
                      A. Pre-bankruptcy History of Debtors

        1.   General Background
      Tile Outlets of America, LLC ("Tile Outlets") is a Delaware limited liability
company organized in August 2002 with headquarters in Norcross, Georgia. It has
5 employees in the Norcross office, including management; these employees are
responsible for accounting and finance, purchasing, information systems, advertising
and marketing, general store support, and human resources. Tile Outlets has a
wholly-owned subsidiary, Tile Outlets of America, Florida LLC, ("TOAF") which has

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retail stores in Fort Myers and Tampa, Florida. Tile Outlets is a wholly-owned
subsidiary of TOA Holdings, Inc. ("Holdings") which is majority owned and controlled
by Curt Rapp and Don Aronin, Tile Outlets' CEO and President, respectively.
Combined, Tile Outlets and TOAF have approximately 47 full and part-time
employees.
Tile Outlets operates retail tile and stone warehouse stores in Fort Myers and
Tampa, Florida. The Fort Myers store opened in September 2002 and operates out
of a 43,500 square foot leased location. The Tampa store opened in May 2003 and
operates out of a 40,000 square foot leased location. Each store maintains a
significant in-stock selection of first quality porcelain and ceramic tile, granite,
marble, travertine, and slate along with a full complement of medallions, mosaics,
and decorative borders. Each store also carries all materials and tools needed to
complete a tile installation. Tile Outlets caters to retail consumers as well as building
contractors and professional tile installers. Its retail stores are open 7 days a week,
52 weeks a year with the exception of Easter, Thanksgiving, Christmas Eve Day and
Christmas Day.

        2.   Events Leading to Chapter 11 Filing

             i.     General Economic Conditions
       Tile Outlets enjoyed consistent annual sales growth at both its Fort Myers and
Tampa store locations through 2006. For the 2006 calendar year the Fort Myers
store generated sales of $8.1 million and the Tampa store generated sales of $6.7
million. Both stores posted their first year over year sales declines in 2007, when the
Fort Myers store generated sales of $7.6 million and the Tampa store generated
sales of $5.3 million. During July 2006, Tile Outlets opened a new store location in
Pinellas Park, Florida. Unlike the Fort Myers and Tampa store locations, there was
no material increase over time in monthly sales at the Pinellas Park store and Tile
Outlets suffered direct losses of approximately $1.0 million as a result of operating
this store during the 18 months it was open. Furthermore, the Pinellas Park store
resulted in some cannibalization of sales from the Tampa store. After many months
of negotiation, Tile Outlets was able to terminate the lease for the Pinellas Park store
on favorable financial terms and closed this store location in December 2007.
       Subsequent to closing the Pinellas Park store location in December 2007, the
U.S. economy in general, and the local economies in the Fort Myers and Tampa,
Florida markets specifically, weakened substantially throughout 2008. With an
average foreclosure rate of 5.5 times the national average, the Cape Coral/Fort
Myers area has consistently experienced one of the three highest foreclosure rates
in the United States over the past two (2) years. Furthermore, the median home
price in Lee County (where Cape Coral and Fort Myers are located) has fallen over
the past 2 years from almost $300,000 to less than $90,000, a price last seen in
1999. Combined with a higher than average unemployment rate which reached
13.5% in August 2009, the demand for Debtor's products has dramatically declined
during this time period. The situation is similar in the Tampa area where home prices
have fallen almost 40% from the July 2006 peak and more than 30% of all

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homeowners with a mortgage have negative equity in their homes. The
unemployment rate in the Tampa area currently exceeds 11%.
      This weakening of the economy accelerated throughout the fourth quarter of
2008 resulting in a substantial sales reduction in 2008 at the Fort Myers store and
a more modest reduction at the Tampa store. In Fort Myers, 2008 sales declined by
27.6% to $5.5 million and Tampa's sales declined by 5.6% to $5.3 million. Sales in
Tampa were bolstered in 2008 by virtue of the fact that it no longer suffered
cannibalization of sales that occurred when the Pinellas Park store was open.
              ii.   Litigation
       The sales decline suffered in 2008 severely limited Tile Outlets’ ability to pay
its suppliers in a timely manner. This caused many suppliers to require cash in
advance in order to ship product to Debtor. In December 2008, two suppliers refused
to ship product despite receiving cash in advance and chose to apply the payments
against outstanding invoices. One of these suppliers, Travertine Brothers, also filed
a lawsuit against Tile Outlets in late December 2008 for the balance owing.
             B. Summary of Activities in Debtors’ Chapter 11 Cases

        1.    Tile Outlets of America, LLC

      Tile Outlets’ Chapter 11 case was instituted on January 16, 2009. The case
is pending before the Honorable Paul W. Bonapfel, U.S. Bankruptcy Judge for the
United States Bankruptcy Court, Northern District of Georgia, Atlanta Division. Tile
Outlets has continued in possession of its assets, and no Trustee has been
appointed.

       In conjunction with its Chapter 11 petition filing, Tile Outlets filed several
motions seeking what is commonly referred to as "first day" relief. This first day relief
was designed to meet the goals of (1) continuing Tile Outlets’ business operations
in Chapter 11 with as little disruption as possible, (2) maintaining the confidence and
support of customers, employees, suppliers and other key constituencies, and (3)
establishing procedures for the smooth and efficient administration of the Chapter
11 case.
      The Court approved the requested first day relief in various orders ("First day
Orders") entered by the Court on January 21, 2009, and such First Day Orders
provided for, among other things:
               a.    The continued maintenance of Tile Outlets’ existing bank
accounts and cash management system, and use of its existing checks and deposit
slips, in the ordinary course of business;
            b.      Authority to pay employees accrued pre-petition wages, salaries
and benefits;


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            c.     Authority to pay certain customer-related obligations and critical
vendor obligations;
               d.     Authority to pay the purchase price, customs duties, freight
charges, and other costs of any goods accepted by Tile Outlets on or after the date
of the filing of the petition initiating the Chapter 11 case; and

              e.    Tile Outlets’ use in the ordinary course of its business of the cash
collateral otherwise pledged to secure its indebtedness to Branch Banking and Trust
Company, in accordance with a budget.
        Tile Outlets also sought and subsequently obtained the following relief:

           a.    Authority to retain Cohen Pollock Merlin & Small, P.C. as its legal
counsel and Habif, Arogeti & Wynne, LLP as its accountants in the Chapter 11
proceedings;
         b.    Authority to pay certain pre-petition store level and store
management bonuses;
           c.    An Order prohibiting utility providers from altering or discontinuing
services and establishing procedures to determine requests for additional
assurances of payment of utility bills;

            d.     An Order approving the rejection of certain leases with Toyota
Financial Services;

              e.    Orders approving continued use of cash collateral;
              f.    Continued cost-cutting initiatives;

              g.    Re-negotiation of Tile Outlets’ premises leases;
             h.     Orders approving the extension of time in which Tile Outlets may
assume or reject leases of non-residential real property;

            I.     An Order granting Tile Outlets authority to enter into an insurance
premium finance agreement;

               j.     Authority to retain Arnall Golden Gregory, LLP, as special counsel
to assist with obtaining exit financing;

             k.      Extensions of the exclusive period during which only Tile Outlets
may file and solicit acceptances to a plan; and
             l.    Filing of the Holdings case in order to provide for substantive
consolidation of Debtors and their estates via a Plan of Reorganization.


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        C. Discussion of Debtor's Financial Rehabilitation in Chapter 11
       Since September 2008, Tile Outlets has conducted a thorough review of its
business model and expenses and has taken numerous actions to enable Tile
Outlets to withstand the current economic recession and conduct its operations on
a profitable basis. In total, Tile Outlets has eliminated approximately $1,000,000 of
annual expenses. These expense reductions have been achieved through a
combination of head count reduction, salary and wage reductions, improved
operational efficiencies and procedures, and, significantly, renegotiated lease
payments. Subsequent to its Chapter 11 filing, Tile Outlets has renegotiated the
lease payment terms for both the Fort Myers and Tampa store locations resulting in
combined annual cost savings of more than $300,000 at current revenue levels.

                          IV. SUMMARY OF THE PLAN
       Debtors’ Plan provides for the satisfaction of all allowed administrative claims
on the Effective Date or as soon as practicable thereafter. As to each administrative
claim allowed thereafter, payment will be made as soon as practicable, subject to
Debtors’ ability to make distributions to the general unsecured class, after reserving
an adequate amount to pay any priority and administrative claims that are subject
to objection at the time of said distribution. Debtors’ Plan also provides for the
satisfaction of all priority tax indebtedness either in cash or over a five year period
in installments with interest as provided in 11 U.S.C. section 1129. There are no
known priority claims other than administrative expense claims.
       Respecting other creditors, Debtors’ Plan provides for one hundred percent
payment of the Avaya Financial and Court Square Leasing allowed secured claims,
payment in full of the allowed secured portion of the claims of GE Capital and Toyota
Financial Services, as further detailed in sub-sections B and C below, with the
balance their respective allowed claims paid on the same terms as the general
unsecured creditors, and for a one-time payment equal to seven and one-half
percent (7.5%) of the claims of each of Debtors’ creditors with allowed unsecured
claims. With respect to Debtors’ premises leases, the Plan provides for the
continuation of contractual payments, plus six monthly payments of one-sixth (1/6)
of the accrued and unpaid rental which existed when Tile Outlets filed its Chapter 11
Petition.
               A. Secured Claim of Branch Banking & Trust Co.

        Branch Banking & Trust Co. (“BB&T”) holds a first priority security interest in
virtually all of Debtors’ assets including inventory, accounts receivable, furniture,
fixtures and equipment. As stated elsewhere in this Disclosure Statement, BB&T
held an aggregate claim of $910,000.00, at the time of the filing of Tile Outlets’ case.
Said claim has been reduced by principal and interest payments made by Tile
Outlets since the filing of the case. As of the date of the filing of this Disclosure
Statement, BB&T’s claim is approximately $801,000.00. BB&T will receive a
payment equal to its claim as of the Effective Date, not to include any fees or
amounts resulting from a default interest rate.

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                         B. Secured Claim of GE Capital
       The Plan provides for payment of secured portion of the Allowed Claim of GE
Capital (“GE”), $21,147.98 (the “GE Secured Claim”), in monthly installments with
interest accruing on the unpaid balance at the pre-Petition contract rate of nine and
two tenths (9.2 %) percent per annum, payable over a period of twelve months.
Debtors have stated in the Plan an amount which Debtors believe is the correct
valuation of the GE Secured Claim. Any indebtedness owed by Debtors to GE over
and above the valuation amount will be treated and paid as a general unsecured
claim.
                C. Secured Claim of Toyota Financial Services

      The Plan provides for payment of secured portion of the Allowed Claim of
Toyota Financial Services (“Toyota”), $16,950.83 (the “Toyota Secured Claim”), in
monthly installments with interest accruing on the unpaid balance at the pre-Petition
contract rate of eight and three quarters (8.75 %) percent per annum, payable over
a period of twelve months. Debtors have stated in the Plan an amount which
Debtors believe is the correct valuation of the Toyota Secured Claim. Any
indebtedness owed by Debtors to Toyota over and above the valuation amount will
be treated and paid as a general unsecured claim.
                             D. Other Secured Claims

       The Plan provides for payment in full of the allowed secured claims, other than
BB&T, GE, and Toyota pursuant to the terms of the existing contracts between the
parties.
                        E. General Unsecured Creditors

       General unsecured claimants will receive a payment equal to seven and one-
half percent (7.5%) of such holder's claim in full and final satisfaction of such claim.
                               F. Landlords’ Claims

       With respect to Debtors’ premises leases, the Plan provides for the
continuation of contractual payments, plus six monthly payments of one-sixth (1/6)
of the accrued and unpaid rental which existed when Tile Outlets filed its Chapter 11
Petition.

                                     G. Interests
       As of the Effective Date, all Interests and Shares shall be deemed cancelled
and rendered null and void. Holders of interests in Tile Outlets and shares in
Holdings shall not receive or retain any property under the Plan on account of such
interests or shares, and no distributions or dividends will be paid with respect to the
allowed interests. Interests as defined in the Plan include the former equity interests
of Paul Sanders and Charissa Rapp which were evidenced by Promissory Notes as

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of Tile Outlets’ Petition Date.
                               H. Funding for the Plan
        1.   New Equity Investment
      On the Effective Date of the Plan, Donald Aronin, Tile Outlets’ President and
Holdings’ Secretary, will pay to the Reorganized Debtor $385,000.00 to purchase a
77.78% equity interest in the Reorganized Debtor. On the Effective Date of the Plan,
Warren Lampert, Tile Outlets’ CFO, will pay to the Reorganized Debtor $55,000.00
to purchase a 11.1% equity interest in the Reorganized Debtor. Lori E. Kirschner
and Helaine O. Lasky will each pay the Reorganized Debtor $27,500.00 for their
respective 5.56% equity interests in the Reorganized Debtor. From and after such
date all current and outstanding equity interests in Debtors will be extinguished and
cancelled.
        2.   Senior Secured Debt Financing

       On the Effective Date of the Plan, Mitchell Lewis (“Lewis") will provide exit
financing to the Reorganized Debtor in the form of a 10 year term loan ("Term Loan")
in the original principal amount of $250,000.00 which will be secured by a first lien
on all of the Reorganized Debtor’s assets including inventory, accounts receivable
and personal property, subject only to existing and future purchase money security
interests. The Term Loan will bear interest at 9% fixed per annum for the first 24
months after the Effective Date of the Plan, and thereafter the Term Loan will bear
interest at LIBOR plus 9%. The default rate shall be the stated rate plus 3%. There
shall be no pre-payment penalty, however, pre-payment must be made in
increments of $10,000.00. During the first 24 months after the Effective Date of the
Plan, payments to Lewis will be made by the Reorganized Debtor in the amount of
$3,166.89 per month.

       Other covenants under the Term Loan include: 1) the Reorganized Debtor
must maintain an inventory of not less than $1.2 million at all times during the Term
Loan, until the balance due to Lewis is paid in full; 2) the Reorganized Debtor may
borrow $300,000.00 from Irene Aronin (the “Subordinated Lender”) pursuant to the
terms listed below under the heading “3. Subordinated Secured Debt Financing”;
and 3) Lewis has an option to purchase a 2% interest in the Reorganized Debtor for
$1.00, and if any principal or interest to Lewis remains outstanding at the conclusion
of the 27th month after the Effective Date of the Plan, Lewis’ ownership option shall
increase by .1% for each partial or full month thereafter until said principal and
interest is paid in full, but in no event shall the ownership interest subject to Lewis’
option to purchase exceed 5% in the aggregate. The Reorganized Debtor may use
the proceeds of the Term Loan for general working capital for the Reorganized
Debtor following the Effective Date of the Plan, including payments due under the
Plan.




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        3.   Subordinated Secured Debt Financing and Other Potential
             Financing
       On the Effective Date of the Plan, the Subordinated Lender will provide
financing to the Recognized Debtor in the form of a 10 year term loan
("Subordinated Term Loan") in the original principal amount of $300,000.00 that will
be secured by a second (and subordinated) lien on all of the Reorganized Debtor's
assets including inventory, accounts receivable and personal property, subject only
to already existing purchase money and blanket security interests. The Subordinated
Loan will bear interest at 12% per annum. Equal monthly payments of principal and
interest shall be made by the Reorganized Debtor in the amount of $4,304.13 per
month. The Reorganized Debtor may use the proceeds of the Subordinated Term
Loan for general working capital for the Reorganized Debtor following the Effective
Date of the Plan, including payments due under the Plan. Additional subordinated
financing may be obtained from Erica Aronin, wife of Don Aronin, if needed for the
Reorganized Debtor’s operations.

                          I. Substantive Consolidation
       The Plan provides for the substantive consolidation of Tile Outlets and
Holdings, including all assets and debts of the Debtors and the Estates, into one
entity as the Reorganized Debtor.

                             J. Other Plan Provisions
       Debtors will assume all executory contracts and unexpired leases not
previously rejected. Cure of arrearages for premises leases will be provided as
indicated in Part IV D above.

       All Avoidance Actions (as defined in the Plan) will be extinguished on the
Effective Date.

THE ABOVE SUMMARY IS A BROAD OUTLINE OF THE PLAN AND
IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE PLAN,
WHICH IS ATTACHED AS EXHIBIT "A" TO THIS DISCLOSURE
STATEMENT.
  V. DISCUSSION OF BEST INTEREST OF CREDITORS: TREATMENT IN A
                     CHAPTER 11 VS. CHAPTER 7
        Another confirmation requirement is the "Best Interest Test," which requires
a liquidation analysis. Under the Best Interest Test, if a claimant or interest holder
is an impaired class and that claimant or interest holder does not vote to accept the
Plan, then that claimant or interest holder must receive or retain under the Plan
property of a value not less than the amount that such holder would receive or retain
if the debtor were liquidated under Chapter 7 of the Bankruptcy Code.


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        In a Chapter 7 case, the debtor’s assets are usually sold by a Chapter 7
trustee. Secured creditors are paid first from the sales proceeds of properties on
which the secured creditor has a lien. Administrative claims are paid next. Then
unsecured creditors are paid from any remaining sales proceeds according to their
rights to priority. Unsecured creditors with the same priority share in proportion to the
amount of their allowed claims in relationship to the amount of total allowed
unsecured claims. Finally, interest holders receive the balance that remains, if any,
after all creditors are paid.
       For the Court to be able to confirm this Plan, the Court must find that all
creditors and interest holders who do not accept the Plan will receive at least as
much under the Plan as such holders would receive under a Chapter 7 liquidation.
After considering the effect that a Chapter 7 liquidation would have on the value of
the Debtors’ estates, including the costs of and claims resulting from a Chapter 7
liquidation, the adverse effect of a forced sale on the prices of Debtors’ assets, and
the adverse impact resulting from the departure of the Debtors’ employees, the
Debtors have determined that confirmation of the Plan will provide each holder of a
claim or interest with a recovery that is no less than each such holder would receive
pursuant to liquidation of Debtors’ assets under Chapter 7 liquidation.

       Attached as Exhibit B is an unaudited liquidation analysis (the "Liquidation
Analysis") demonstrating the basis for Debtors’ belief as stated herein. Since the
Liquidation Analysis has not been audited or reviewed by an independent public
accountant, no opinion or any other form of assurance as to its accuracy is
expressed. The Liquidation Analysis reflects the Debtors’ estimate of the value that
may be realized by Debtors’ estates and the potential recoveries that may be
available to holders of allowed claims and allowed equity interests if the Debtors’
assets were liquidated and the proceeds distributed in accordance with Chapter 7
of the Bankruptcy Code. Underlying the Liquidation Analysis are a number of
estimates and assumptions that, although developed and considered reasonable by
the Debtors, are subject to inherent economic and competitive uncertainties and
contingencies beyond the control of the Debtors, and are based upon assumptions
with respect to liquidation decisions that are subject to change. Accordingly, there
can be no assurance that the values and costs reflected in the Liquidation Analysis
would be realized if the Debtors’ assets were, in fact, to undergo such a liquidation.
       For purposes of the Liquidation Analysis, it is assumed hypothetically that a
plan of reorganization could not ultimately be confirmed at the confirmation hearing
and, on or about that date, the Chapter 11 case is converted to a Chapter 7 case.
In connection with the hypothetical commencement of the Chapter 7 case, it is
assumed that the role of the Debtors terminates on or about the hypothetical
conversion date and a Chapter 7 trustee is appointed to, among other things,
manage the liquidation process and distribute the liquidation proceeds ultimately
realized in accordance with the priorities established by the Bankruptcy Code. In
such a case, the Chapter 7 trustee would have to consider, and ultimately pursue,
one or more recovery strategies other than the Plan.
        Costs that have been specifically identified in connection with the recovery

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and/or liquidation of individual asset classes have been deducted in order to arrive
at the amounts reflected in the Liquidation Analysis. The classification and dollar
amounts of estimated allowed claims incorporated within the Liquidation Analysis are
subject to modification pending further analysis and the receipt of additional
information with respect to such claims. Potential recoveries resulting from alleged
preference claims are not addressed in the Liquidation Analysis.

                           VI. FINANCIAL INFORMATION
       Debtor has included with this Disclosure Statement two exhibits which analyze
its cash flow, net income and current assets. Attached as Exhibit “B” is a Liquidation
Analysis which shows that whether Debtors’ assets are liquidated through a Going
Out of Business (GOB) sale or immediate cessation of business, there would at best
be less than a 1% recovery for general unsecured creditors.
      Attached as Exhibit “C” is a twelve month “Projected Revenues and
Expenses” which contains Debtors’ best estimate of net income during the next
twelve months.

     VII. ANALYSIS OF CLAIMS AND APPROXIMATE DISTRIBUTIONS TO
                       CREDITORS UNDER THE PLAN

                     A. Projected Administrative Expenses
       Debtors provide the following as an estimate of administrative expenses
incurred and to be incurred in connection with confirmation of the Plan and closing
of the Bankruptcy Estate:

        Bankruptcy Counsel fees and expenses                 $ 55,000.001

        Committee Counsel fees and expenses                       6,000.00

        Accountants’ fees and expenses                             2,500.00
        Plan and Disclosure Statement printing

        1
          Counsel for Debtors estimates that its total fees and expenses for representing
the Debtors and Debtors in Possession in this Chapter 11 case will approximate
$145,000.00. Of this amount, counsel has been paid approximately $90,000.00, and
has unbilled time of approximately $20,000.00. Debtors’ counsel estimates an
additional $35,000.00 to be charged in conjunction with confirmation of the Plan and
closing of the bankruptcy estate. Counsel has approximately $40,000 in escrow to
cover future fees and expenses of all retained professionals (for Debtors and the
Creditors’ Committee), and pursuant to Court order, Tile Outlets has been paying
counsel the sum of $4,000.00 per week which counsel has been escrowing to cover
future fees and expenses. The amount shown in Section D below is the amount of fees
and expenses estimated to be in excess of the amount in escrow in January 2010.

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            and mailing                                               1,000.00
        U.S. Trustee fees through 1st quarter 2010                   20,475.00
        Other miscellaneous administrative expenses                     500.00

            Total administrative expenses incurred in
            connection with confirmation and closing                $ 85,475.00


                              B. Projected Priority Claims2
      As of the date of this Disclosure Statement, priority tax and claims totaled
$4,907.48 as follows:
        NAME OF CLAIMANT                                        AMOUNT OF CLAIM

        Hillsborough County Tax Commissioner
        (2009 estimated tax claim)                              $2,918.87

        Lee County Tax Commissioner
        (2009 estimated tax claim)                              $1,988.61

        Internal Revenue Service                                $      0.00
        TOTAL PRIORITY TAX CLAIMS                               $4,907.48

      These claims will be paid either in cash in full or over five years as provided
in 11 U.S.C. 1129(a)(9)(C).

                            C. Analysis of Claims Payments

      Debtors’ preliminary analysis of unsecured claims indicates that pre-petition
scheduled unsecured non-priority claims total approximately $2,550,000.00. The
7.5% distribution to allowed unsecured claims is estimated to be $191,250.00. The
monthly payment to the non-BB&T secured creditors will be $3,861.00. The monthly
“catch up” payment to Debtors’ landlords will be $12,119.44 for six months. The one-
time payment to BB&T is estimated to be $801,000.00.




        2
           Debtors know of no other allowable priority claims other than administrative
claims as analyzed above and the tax claims set forth in this section.

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                              D. Projected Plan Pay-outs
        Projected approximate initial pay-outs under Debtors’ Plan are as follows:

        Category or Class of Claim                          Initial Payment
        Administrative Expenses - one time payment          $       0.00 3
        Priority Tax Claims                                 $    4,907.48
        General Unsecured - one time payment                $ 191,250.00

        Non-BB&T Secured Creditors - Payable monthly $           3,861.004
        Premises Lease payments
        (including 1/6 catch up payment)                    $   71,512.44

        BB&T - one time payment                             $ 801,000.00

        Total Initial Pay-out                               $1,072,530.92




        3
         This amount is the amount that would not be covered by the funds
escrowed by Debtors. See footnote 2, above.
        4
           Note that payments to non-BB&T secured creditors commence within
thirty days of the Effective Date of the Plan. These payments are monthly.
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               VIII. LITIGATION; BANKRUPTCY CAUSES OF ACTION;
                      AND RECOVERY OF ASSETS
        Debtors know of no litigation which will be instituted against any party
following confirmation of the Plan except for routine objections which may be
instituted against claimants whose claims are disputed by Debtors.

      Further, Debtors knows of no preference, fraudulent conveyance or other
bankruptcy related cause of action for which the possibility of a material recovery for
the benefit of the Bankruptcy Estate exists; therefore those claims will be
extinguished upon Confirmation. Debtors believe that certain non-material
preference claims exist against Travertine Brothers, Bestview, Paul Sanders and
Charissa Rapp.

                  IX. INFORMATION REGARDING SALARIES OF
                      CURRENT AND FUTURE INTEREST HOLDERS

                Don Aronin:           $180,000.00 (annual for 2010)
                Warren Lampert:       $142,875.00 (annual for 2010)

                Curt Rapp:            $60,000 for 1/1/10 through 6/30/10;
                                      $18,000 for 7/1/10 - 12/31/10

        X. INFORMATION REGARDING SUBSTANTIVE CONSOLIDATION

      By this Plan and Confirmation of same, Debtors seek substantive
consolidation for business and tax purposes. Tile Outlets is a wholly owned
subsidiary of Holdings; Holdings has no separate business, assets or creditors apart
from Tile Outlets.

                   XI. INFORMATION RELEVANT TO THE RISKS
                        POSED TO CREDITORS UNDER THE PLAN

       The only risk to any of Debtors’ creditors under the Plan is that the New Equity
Investments, the Term Loan, and the Subordinated Term Loan may not be sufficient
to fund the initial pay-out, as well as, for the non-BB&T secured creditors, that the
Reorganized Debtor’s business operations do not generate sufficient positive cash
flow to make the monthly payments to secured creditors. Creditors are advised to
closely review the financial analyses included with this Disclosure Statement.
            XII. FEDERAL AND STATE TAX IMPLICATIONS TO CREDITORS

      Debtors do not believe that there are any adverse federal and state tax
implications to creditors by virtue of the treatment of their claims under the Plan,
except to the extent that any creditor has written off all or a portion of its claim
against Debtors as a bad debt.


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     In any event creditors are well advised to consult their tax advisors as to
whether the Plan provides any individual adverse tax implications.
                                 XIII. CONCLUSION
       Debtors submit that its Plan provides for an orderly and expeditious payment
of their indebtedness to their creditors. Debtors further submit that the alternative
of a Chapter 7 liquidation does not appear to Debtors as a viable method of
maximizing recovery to creditors in this case.
        Respectfully submitted this 16th day of October, 2009.
                                              COHEN POLLOCK
                                              MERLIN & SMALL, P.C.
                                              Counsel for Debtors

      /s/ Don Aronin                             /s/ Karen Fagin White
Don Aronin                                    Gus H. Small
President and Chief Operating Officer,        GA Bar No.: 653200
Tile Outlets of America LLC                   Karen Fagin White
                                              GA Bar No.: 754450
                                              Anna M. Humnicky
                                              GA Bar No.: 377850
    /s/ Don Aronin                            3350 Riverwood Parkway
Don Aronin                                    Suite 1600
Secretary, TOA Holdings, Inc.                 Atlanta, GA 30339
                                              (770) 858-1288
                                              Fax: (770) 858-1277
                                              gsmall@cpmas.com
                                              kfwhite@cpmas.com
                                              ahumnicky@cpmas




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                                   EXHIBIT “A”

                      PLAN OF REORGANIZATION




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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:                                        CHAPTER 11

 TILE OUTLETS OF AMERICA, LLC,                 CASE NO. 09-61261-pwb

             Debtor.



 IN RE:                                        CHAPTER 11

 TOA HOLDINGS, INC.,                           CASE NO. 09-85614-pwb

             Debtor.



                       PLAN OF REORGANIZATION
                            PROPOSED BY
                    TILE OUTLETS OF AMERICA, LLC
                        AND TOA HOLDINGS, INC.
                                OCTOBER 16, 2009



                            Gus H. Small, Esquire
                          Karen Fagin White, Esquire
                          Anna M. Humnicky, Esquire
                       Cohen Pollock Merlin & Small, P.C.
                           3350 Riverwood Parkway
                                  Suite 1600
                              Atlanta, GA 30339

                               Counsel for Debtors




NO MATERIALS OTHER THAN THE DISCLOSURE STATEMENT AND
RELATED MATERIALS APPROVED BY THE BANKRUPTCY COURT HAVE
BEEN AUTHORIZED FOR USE IN SOLICITING ACCEPTANCES OR
REJECTIONS OF THIS PLAN.
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                              PLAN OF REORGANIZATION

                                          ARTICLE I.

                                        INTRODUCTION

      Tile Outlets of America, LLC (“Tile Outlets”), and TOA Holdings, Inc.
(“Holdings,” collectively with Tile Outlets, the “Debtors”), the Debtors in the
above-referenced Bankruptcy Cases, hereby propose and file the following Plan
of Reorganization providing for the substantive consolidation of the two
bankruptcy estates and for a reorganization of their debts. This Plan of
Reorganization (the “Plan”) should be considered in conjunction with the
Disclosure Statement, which the Debtors have filed contemporaneously herewith.

                                          ARTICLE II.

                   DEFINITIONS AND RULES OF INTERPRETATION

2.1        Scope of Definitions and Rules of Interpretation.

       2.1.1 For purposes of the Plan, all capitalized terms not otherwise defined
herein shall have the meanings ascribed to them in Article II of the Plan. Any term
used in the Plan that is not defined herein, but is otherwise defined in the
Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to
that term in the Bankruptcy Code or the Bankruptcy Rules.

      2.1.2 The rights and obligations arising under the Plan shall be interpreted,
governed by, and construed and enforced in accordance with the laws of the
State of Georgia (without regard to the conflict of law principles thereof), the
Bankruptcy Code, and the Bankruptcy Rules, as appropriate.

2.2        Definitions.

       2.2.1 Administrative Claim shall mean an Allowed Claim for payment of an
administrative expense of a kind specified in Section 503(b) of the Bankruptcy
Code and entitled to priority payment pursuant to Section 507(a) of the
Bankruptcy Code, including (a) the actual, necessary costs and expenses
incurred after the Petition Date of preserving either of the Estates and operating
the Debtors’ business, including wages, salaries, or commissions for services
rendered after the Petition Date, (b) compensation for legal, financial advisory,
accounting and other services and reimbursement of expenses approved,
awarded or allowed under Sections 330(a) or 331 of the Bankruptcy Code, (c) the
post-Effective Date costs and expenses of administering the substantively
consolidated Estate, and (d) all Allowed Claims that are entitled to be treated as

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Administrative Claims pursuant to a Final Order of the Bankruptcy Court.

        2.2.2 Allowed Claim shall mean a Claim against Debtors to the extent that
such Claim is unpaid and (a) has been allowed by a Final Order of the Court; or
(b) is (I) listed in the Debtors’ Schedules, other than a Claim that is Scheduled at
zero or unknown amount or as disputed, contingent, or unliquidated, or (ii)
evidenced by a proof of claim that has been filed with the Court on or before the
Bar Date or deemed filed pursuant to any Final Order of the Court or under
applicable law, and as to which (A) no objection to its allowance has been timely
filed, or (B) any objection to its allowance has been settled or withdrawn, or has
been denied by a Final Order; or (C) is allowed pursuant to the terms of this Plan.
Notwithstanding any other provision of the Plan, the term "Allowed Claim" shall
not include any Claim held by a creditor against which the Debtors have asserted
a Cause of Action that has the effect of precluding a Distribution with respect to
such Claim. An Allowed Claim shall not include any interest accrued after the
Petition Date (on any Claim other than a Secured Claim) or any penalty. In the
case of Allowed Claims that are Tax Claims, any interest in excess of 7.5% shall
be considered a penalty and not allowed.

        2.2.3 Assets shall mean all property of the Debtors and the Estates as
defined in Section 541 of the Bankruptcy Code, including without limitation all
right, title, and interest in and to any Avoidance Actions or other Causes of Action
that the Debtors or the Estates may have as of the Effective Date or any time
thereafter.

       2.2.4 Avoidance Actions shall mean any actions, causes of action, claims,
demands, suits, or rights, created or arising in favor of the Debtors or their
Estates under the Bankruptcy Code, including all claims, rights and causes of
action arising under Section 510 or under any of Sections 542 through 553 of the
Bankruptcy Code, in each case regardless of whether such actions, causes of
action, claims, demands, suits or rights are commenced prior to or after the
Effective Date.

       2.2.5 Ballot shall mean each of the voting forms that will be distributed by
Order of the Court to holders of Claims in Classes that are impaired and entitled
to vote under the Plan.

      2.2.6 Bankruptcy Cases or Cases shall mean the Chapter 11 bankruptcy
cases of the Debtors now pending before the Court.

      2.2.7 Bankruptcy Code or Code shall mean the Bankruptcy Reform Act of
1978, as amended and codified in Title 11 of the United States Code, 11 U.S.C.
§§ 101-1532, as now in effect or hereafter amended and applicable to these
Cases.

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      2.2.8 Bankruptcy Rules shall mean: (a) the Federal Rules of Bankruptcy
Procedure and the Official Bankruptcy Forms, (b) the Federal Rules of Civil
Procedure, and (c) the Local Rules of the Court, all as amended from time to time
and as applicable to this Case or proceedings therein.

      2.2.9 Bar Date shall mean the last date set by the Court to file proofs of
claim asserting a pre-petition claim. The Bar Date was previously set by the
Court in the Tile Outlets case as August 11, 2009.

      2.2.10 Business Day shall mean any day, excluding Saturdays, Sundays,
and legal holidays, on which commercial banks are open for business in Atlanta,
Georgia.

           2.2.11 Cash shall mean legal tender of the United States of America.

       2.2.12 Causes of Action shall mean any and all of the Debtors’ and the
Estates’ claims, causes of action, suits, proceedings, liabilities, debts, dues,
sums of money, accounts, reckonings, bonds, bills, specialties, covenants,
contracts, controversies, torts, penalties, statutory violations, agreements,
promises, variances, setoff or recoupment rights, trespasses, damages, or
judgments, whether asserted or unasserted, liquidated or unliquidated, based on
any act or omission or other event occurring prior to the Effective Date, including
Avoidance Actions and D&O Actions, and any claims acquired following the
Petition Date, including without limitation all such Causes of Action described in
the Disclosure Statement.

      2.2.13 Claim shall mean a claim against the Debtors or their Estates, as
defined in Section 101(5) of the Bankruptcy Code.

       2.2.14 Claims Litigation shall mean any and all litigation or proceedings
arising out of objections to Claims asserted against the Estates, or affirmative
counterclaims or requests for setoff or recoupment that are raised with regard to
Claims asserted against the Estates.

       2.2.15 Class shall mean any class into which Claims or Interests are
classified pursuant to this Plan.

      2.2.16 Committee shall mean the Official Committee of Unsecured
Creditors appointed by the United States Trustee in the Tile Outlets Chapter 11
case.

      2.2.17 Confirmation Date shall mean the date on which the Confirmation
Order is entered on the docket of the Court.


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      2.2.18 Confirmation Hearing shall mean the hearing on confirmation of the
Plan, held pursuant to Section 1128 of the Bankruptcy Code.

      2.2.19 Confirmation Order shall mean the Order entered by the Court
confirming the Plan pursuant to Section 1129 of the Bankruptcy Code.

      2.2.20    Court or Bankruptcy Court shall mean the United States
Bankruptcy Court for the Northern District of Georgia or, in the event such Court
ceases to exercise jurisdiction over the Bankruptcy Cases, such court or adjunct
thereof that exercises jurisdiction over the Bankruptcy Cases in lieu of the United
States Bankruptcy Court for the Northern District of Georgia.

       2.2.21 Creditors’ Claims Against Third Parties shall mean any and all
claims, causes of action, suits, proceedings, liabilities, debts, dues, sums of
money, accounts, reckonings, bonds, bills, specialties, covenants, contracts,
controversies, agreements, promises, variances, setoff or recoupment rights,
trespasses, damages, or judgments, whether asserted or unasserted, liquidated
or unliquidated, that any creditor of Debtors could assert against any non-Debtor
entity, including without limitation any current or former officer or director of
Debtors or any law firm, accounting firm or other professional entity, that arises
from or relates to that creditor's Claim against Debtors or either of them and
which is based on any act or omission or other event occurring prior to the
Effective Date.

        2.2.22 D&O Actions shall mean any proceeding and/or claim against
persons who served prior to the Petition Dates as directors, officers, managers or
employees of the Debtors, as well as any person or entity which allegedly
conspired with, aided and abetted, or otherwise assisted such directors, officers,
managers or employees engaged in certain acts and omissions as set out below.
Persons who served prior to the Petition Dates as directors, officers, managers
and employees of the Debtors (collectively, the "D&Os") include, without
limitation, the following: Donald Aronin, Curt Rapp and Warren Lampert. Such
proceedings and/or claims shall include, without limitation, (I) claims currently
existing or which could be asserted based upon facts or events existing as of the
Effective Date, regardless of whether they are covered by a D&O Policy, and (ii)
any other claim against any person or entity alleged to have conspired with,
aided and abetted, or otherwise assisted such D&Os in any way. The D&O
Actions include, without limitation, wrongful acts and omissions that may have
been committed by the D&Os while serving as directors, officers, managers or
employees of the Debtors including, without limitation, breaches of fiduciary duty,
negligence, gross negligence, recklessness, breaches of the duties of care,
deepening insolvency, and other actions which may have led to the decline of the
Debtors’ business, lessened the value of the Debtors’ assets, increased the
amount of the Debtors’ liabilities, or otherwise damaged the Debtors, the Debtors’

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creditors, the member(s) of Tile Outlets, or the shareholders of Holdings,
provided, however, it shall not include any claims against new and different
directors, officers, managers or employees appointed as of or after the Effective
Date.

      2.2.23 Debtors shall mean Tile Outlets of America, LLC, inclusive of its
wholly owned subsidiary Tile Outlets of Florida, LLC; Holdings; and the
Reorganized Debtor, on a consolidated basis.

       2.2.24 Designated Notice means notice and an opportunity for a hearing
as defined in section 102(a) of the Bankruptcy Code, with notice limited to
Debtors, counsel for Debtors, the United States Trustee and other parties in
interest who, after entry of the Confirmation Order, file a request for such notice
with the clerk of the Court and serve a copy of such notice on counsel to the
Debtors.

        2.2.25 Disallowed Claim shall mean (a) a Claim, or any portion thereof,
that has been disallowed by a Final Order of he Court; (b) a Claim that has been
listed in the Schedules at zero or unknown amount or as contingent, disputed, or
unliquidated and as to which no proof of claim has been timely filed or deemed
timely filed with the Court pursuant to the Bankruptcy Code, any Final Order of
the Court or other applicable law; or (c) a Claim that has not been listed in the
Schedules and as to which no proof of claim has been timely filed or deemed
timely filed with the Court pursuant to the Bankruptcy Code, any Final Order of
the Court, or other applicable law.

       2.2.26 Disputed Claim shall mean a Claim as to which an objection has
been or may be timely filed by a party-in-interest with standing and which
objection has not been withdrawn or determined by a Final Order and which is
not the subject of a compromise and settlement as described in this Plan.
Disputed Claims shall also include any Claim held by a creditor against which the
Debtors have asserted a claim that has the effect, under Section 502(d) of the
Bankruptcy Code, of precluding a Distribution with respect to such Claim.

      2.2.27 Distribution shall mean a distribution or payment under the Plan to
the holders of Allowed Claims.

       2.2.28 Effective Date shall mean the first Business Day occurring at least
fifteen (15) days after the entry of the Confirmation Order, provided that the
Confirmation Order has become a Final Order (as defined herein).

       2.2.29 Estate shall mean the substantively consolidated bankruptcy estate
created by the confirmation of the Debtors’ Chapter 11 Plan of Reorganization,
after the Confirmation Date.

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    2.2.30 Estates shall mean the bankruptcy estates created by the
commencement of the Debtors’ Chapter 11 cases, prior to the Confirmation Date.

      2.2.31 Facilitating Lenders mean the lenders providing all or part of the
funds necessary to pay the sums due the holders of Allowed Claims under this
Plan.

       2.2.32 Final Order shall mean an Order or Judgment, the operation or
effect of which has not been stayed, reversed, modified, or amended and as to
which Order or Judgment the time to appeal, petition for certiorari, or seek re-
argument, review or rehearing has expired and as to which no notice of appeal,
petition for certiorari, or motion for re-argument, review or rehearing was timely
filed or, if timely filed, the Order or Judgment has been affirmed by the highest
court to which the Order or Judgment was appealed or from which the re-
argument or rehearing was sought, or certiorari has been denied, and the time to
file any further appeal or to petition for certiorari or to seek further re-argument or
rehearing has expired.

       2.2.33 General Unsecured Claim shall mean an Allowed Claim that is not
an Administrative Claim, a Priority Claim, a Secured Claim, a Priority Tax Claim,
or is not otherwise separately classified.

      2.2.34 Holdings Petition Date shall mean September 30, 2009, the date on
which TOA Holdings, Inc. filed its Chapter 11 case.

       2.2.35 Interests shall mean the equity membership interests in Tile Outlets
of America, LLC, including the former equity interests of Paul Sanders and
Charissa Rapp which were evidenced by Promissory Notes as of the Tile Outlets
Petition Date, and the equity shareholder interests in TOA Holdings, Inc.

      2.2.36 Petition Dates shall mean January 16, 2009, the date on which Tile
Outlets filed its Chapter 11 case, and September 30, 2009, the date on which
Holdings filed its Chapter 11 case.

      2.2.37 Plan shall mean this Plan of Reorganization, as it may be modified
or amended from time to time pursuant to Section 1127 of the Bankruptcy Code
and Article X of the Plan.

      2.2.38 Priority Claim shall mean an Allowed Claim entitled to priority
pursuant to Sections 507(a)(2) through and including 507(a)(10) of the
Bankruptcy Code.

      2.2.39 Priority Tax Claim shall mean an Allowed Claim entitled to priority
pursuant to Section 507(a)(8) of the Bankruptcy Code.

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      2.2.40 Reorganized Debtor shall mean Tile Outlets of America, LLC, and
TOA Holdings, Inc., on a substantively consolidated basis, after entry of the
Confirmation Order and on the Effective Date of the Plan.

      2.2.41 Scheduled shall mean, with respect to any Claim or Interest, the
status and amount, if any, of such Claim or Interest, as set forth in the Debtors’
Schedules.

        2.2.42 Schedules shall mean the Debtors’ Schedules of Assets and
Liabilities and Statement of Financial Affairs, all as amended, filed on or about
January 16, 2009, and as amended from time to time in the Tile Outlets of
America, LLC, case, and on September 30, 2009, in the TOA Holdings, Inc.
case.

       2.2.43 Secured Claim shall mean an Allowed Claim secured by a lien on
property of the Estate to the extent of the value, as of the Effective Date, of such
lien as determined by a Final Order of the Court pursuant to Section 506 of the
Bankruptcy Code, or as otherwise agreed in writing by the Debtors and the
holder of such Allowed Claim.

           2.2.44 Shares shall mean a shareholder's equity interests in TOA Holdings,
Inc.

      2.2.45 Tile Outlets Petition Date shall mean January 16, 2009, the date on
which Tile Outlets filed its Chapter 11 case.

      2.2.46 Unclaimed Property means any funds payable to holders of Claims
which are unclaimed.

      2.2.47 Unsecured Claim Payment Date shall mean the first Business Day
which is thirty (30) days after the Effective Date.




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                                  ARTICLE III.
                    CLASSIFICATION OF CLAIMS AND INTERESTS

           3.1   Introduction

       3.1.1 All Claims and Interests in the Bankruptcy Case are classified in the
Classes below. Notwithstanding any other provision of the Plan, a Claim in a
particular Class is entitled to receive Distributions pursuant to the Plan only to the
extent that such Claim is an Allowed Claim in that Class, and only to the extent
such Claim has not been paid, released, or otherwise satisfied prior to the
Effective Date.

       3.1.2 Under the provisions of Section 1123(a)(1) of the Bankruptcy Code,
Claims of a kind specified in Sections 507(a)(2) [administrative expenses, etc.],
507(a)(3) [so-called “gap” claims] and 507(a)(8) [tax claims] may not be
designated by the Debtors as being in particular classes. Notwithstanding this
prohibition of classification, these Claims are nevertheless treated in Article IV of
this Plan.

3.2        Classification. Claims and Interests are classified as follows:

     Class 1       - Administrative Claims.              Class 1 will consist of all
Administrative Claims.

       Class 2 - Priority Tax Claims. Class 2 will consist of all Priority Tax
Claims, including any Tax or Customs Claims held by the United States of
America; the State of Georgia; the State of Florida; Gwinnett County, Georgia;
Hillsborough County, Florida; Lee County, Florida; or other appropriate taxing
authorities.

           Class 3 - Priority Claims. Class 3 will consist of all Priority Claims.

      Class 4 - General Unsecured Claims. Class 4 shall consist of all
Unsecured Claims, other than Claims separately classified in Class 5 of this
Plan.

       Class 5 – Landlords’ Claims. Class 5 consists of the unsecured claim of
the lessors of Debtors’ business premises.

       Class 6 - Secured Claim of Branch Banking & Trust Company. Class
6 shall consist of the Secured Claim of Branch Banking & Trust Company.




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     Class 7 - Secured Claim of GE Capital. Class 7 shall consist of the
Secured Claim of GE Capital.

      Class 8 - Secured Claim of Toyota Financial Services. Class 8 shall
consist of the Secured Claim of Toyota Financial Services.

      Class 9 - Other Secured Claims. Class 9 consists of the secured claims
of Avaya Financial and Court Square Leasing.

           Class 10 - Interests. Class 10 consists of all Interests.

                                        ARTICLE IV.

                     TREATMENT AND IMPAIRMENT OF CLAIMS,
                        INTERESTS AND PRIORITY CLAIMS

      The treatment and impairment of each of the classes of Claims and
Interests set forth in Article III and the treatment and impairment of Priority
Claims, are described as follows:

4.1        Class 1 - Administrative Claims.

        4.1.1 Treatment. Except as may otherwise be agreed between the
Debtors and the holder of an Administrative Claim, the Reorganized Debtor will
pay all Administrative Claims that are allowed as of the Effective Date in Cash in
full on the Effective Date or as soon thereafter as is reasonably practicable.
Subsequent to the Effective Date, the Reorganized Debtor will pay each
Administrative Claim that becomes allowed following the Effective Date in Cash
in full as soon as reasonably practicable after the date the Claim is allowed;
provided, however, that the Reorganized Debtor shall be authorized to make
Distributions to Allowed Claims in Classes 4 and 5, after reserving an adequate
amount to pay any Claims in Classes 1, 2, and 3 that are subject to objection at
the time of such Distribution.

4.1.2 Impairment. Class 1 is not impaired by the Plan.

 4.2       Class 2 - Priority Tax Claims.

           4.2.1 Treatment.

              4.2.1.1 To the extent that any Priority Tax Claims have not been
satisfied prior to the Effective Date, the Reorganized Debtor will pay all remaining
Priority Tax Claims in Cash in full on the Effective Date or as soon thereafter as


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is reasonably practicable, but in no event later than the end of five (5) years from
the Tile Outlets Petition Date.

             4.2.1.2 As to any Priority Tax Claim not paid in full on the Effective
Date, the holder of such Priority Tax Claim shall also be paid regular quarterly
installment payments which include an amount of interest and at a rate of interest
ordered by the Court (or agreed by the holder and the Reorganized Debtor) as
being necessary to assure the holder of the Priority Tax Claim the full value of
the Priority Tax Claim, pursuant to Section 1129(a)(9)(C) of the Bankruptcy
Code, but in no event greater than 7.5% APR.

             4.2.1.3 To the extent that any Class 2 Claim is allowed after the
Effective Date, it will be paid in full in Cash within thirty (30) days after the Claim
is allowed, or, at the sole discretion of the Reorganized Debtor as soon thereafter
as is reasonably practicable over a period no later than the end of five (5) years
from the Petition Date by quarterly installment payments, including interest
calculated as set forth above.

             4.2.1.4 All Class 2 Claims will be paid after Distributions have been
made to Class 1, Class 3 and Class 6 Claims existing on the Effective Date, but
prior to payment to any Claims in Classes 4 or 5; provided, however, that the
Debtor shall be authorized to make Distributions to Allowed Claims in Classes 4
and 5 after reserving an adequate amount to pay any Claims in Classes 1, 2, and
3 that are subject to objection at the time of such Distribution.

           4.2.2 Impairment. Class 2 is not impaired by the Plan.

4.3        Class 3 - Priority Claims.

           4.3.1 Treatment.

              4.3.1.1 Debtors know of no Claims entitled to priority under Section
507 which are not Administrative Claims or Priority Tax Claims. To the extent
there are such claims and, except as may otherwise be agreed between the
Reorganized Debtor and the holder of a Priority Claim, the Reorganized Debtor
will pay all Priority Claims that are allowed as of the Effective Date in Cash in full
on the Effective Date or as soon thereafter as is reasonably practicable.

             4.3.1.2 To the extent that any Class 3 Claim is allowed after the
Effective Date, it will be paid in full in Cash within thirty (30) days after the Claim
is allowed or as soon thereafter as is reasonably practicable.

            4.3.1.3 All Class 3 Claims will be paid prior to payment to any
Claims in Classes 4 or 5; provided, however, that the Reorganized Debtor shall

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be authorized to make Distributions to Allowed Claims in Classes 4 and 5 after
reserving an adequate amount to pay any Claims in Classes 1, 2, and 3 that are
subject to objection at the time of such Distribution.

           4.3.2 Impairment. Class 3 is not impaired by the Plan.

4.4        Class 4 - General Unsecured Claims.

           4.4.1 Treatment.

              4.4.1.1 Thirty (30) days after the Effective Date, and after the
payment of Distributions (to the extent and in the manner contemplated by the
Plan) to the holders of Allowed Claims in Classes 1 through 3 (and reserving of
an appropriate amount for Disputed Claims in said Classes), the Reorganized
Debtor shall make a one-time Distribution to holders of General Unsecured
Claims equal to seven and one-half percent (7.5%) of such holder's Class 4
Claim in full and final satisfaction of such Claim.

             4.4.1.2 To the extent that any Class 4 Claim is allowed after the
Effective Date, it will be paid seven and one-half percent (7.5%) of the Allowed
Claim in Cash within thirty (30) days after the Claim is allowed or as soon
thereafter as is reasonably practicable after the Claim is allowed.

           4.4.2 Impairment. Class 4 is impaired by the Plan.

4.5        Class 5 – Landlords’ Claims.

           4.5.1 Treatment

              4.5.1.1 On the first day of the month following the Effective Date
and on the first day of each subsequent month until the termination of each of
Debtors’ premises leases, respectively, Debtors shall pay the holders of Allowed
Claims in Class 5 the monthly rental amounts due under each such lease, as
previously amended. For each of the first six (6) months following the Effective
Date, Debtors shall also pay the holders of Allowed Claims in Class 5 one-sixth
(1/6) of the accrued but unpaid rental which existed as of the Tile Outlets Petition
Date pursuant to the respective premises leases.

              4.5.1.2 To the extent that any Class 5 Claim is allowed after the
Effective Date, the six monthly payments of one-sixth (1/6) of the accrued but
unpaid rental which existed as of the Tile Outlets Petition Date shall commence
on the first day of the month following the Claim becoming an Allowed Claim.

           4.5.2 Impairment. Class 5 is impaired by the Plan.

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4.6 Class 6 - Secured Claim of Branch Banking & Trust Co.

       4.6.1 Treatment. The Secured Claim of Branch Banking & Trust Co. shall
be settled and satisfied in full as follows: on the Effective Date, the Reorganized
Debtor shall pay BB&T a sum equal to BB&T’s Allowed Claim, as of the Effective
Date, said balance not to include any fees or amounts resulting from a default
interest rate.

           4.6.2 Class 6 is not impaired by the Plan.

4.7 Class 7 - Secured Claim of GE Capital.

     4.7.1 Treatment. The secured claim of GE Capital ("GE"), the Class 7
Claimant, shall be settled and satisfied in full as follows:

            4.7.1.1 The secured claim of GE shall be allowed in the amount of
$21,147.98 (the "GE Secured Claim").

             4.7.1.2 The GE Secured Claim will be settled and satisfied in full by
payment of one hundred percent (100 %) of the allowed amount of such claim in
monthly installments with interest accruing on the unpaid balance at the pre-
Petition contract rate of nine and two tenths (9.2 %) percent per annum. The
amount of such monthly installments shall be computed by amortizing the
principal and interest over a period of twelve months.

             4.7.1.3 Monthly installment payments shall continue on the same
date each month as provided in the contract between the parties, beginning after
the Effective Date.

            4.7.1.4 The pre-Petition security interest held by GE in the assets of
Debtors existing on the Petition Date shall continue in full force and effect until
such time as the GE's Class 7 secured claim is paid in full.

           4.7.1.5 To the extent the GE Allowed Claim is in excess of the GE
Secured Claim, the excess shall be treated as a Class 4 General Unsecured
Claim.

           4.7.3 Impairment. Class 7 is impaired by the Plan.

4.8 Class 8 - Secured Claim of Toyota Financial Services.

      4.8.1 Treatment. The secured claim of Toyota Financial Services
("Toyota"), the Class 8 Claimant, shall be settled and satisfied in full as follows:


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            4.8.1.1 The secured claim of Toyota shall be allowed in the amount
of $16,950.83 (the "Toyota Secured Claim").

             4.8.1.2 The Toyota Secured Claim will be settled and satisfied in full
by payment of one hundred percent (100 %) of the allowed amount of such claim
in monthly installments with interest accruing on the unpaid balance at the pre-
Petition contract rate of eight and three quarters (8.75 %) percent per annum.
The amount of such monthly installments shall be computed by amortizing the
principal and interest over a period of twelve months.

             4.8.1.3 Monthly installment payments shall continue on the same
date each month as provided in the contract between the parties, beginning after
the Effective Date.

              4.8.1.4 The pre-Petition security interest held by Toyota in the
assets of Debtors existing on the Petition Date shall continue in full force and
effect until such time as the Toyota's Class 8 secured claim is paid in full.

           4.8.1.5 To the extent the Toyota Allowed Claim is in excess of the
Toyota Secured Claim, the excess shall be treated as a Class 4 General
Unsecured Claim.

           4.8.3 Impairment. Class 8 is impaired by the Plan.

4.9 Class 9 - Other Secured Claims.

           4.9.1 Treatment.

             4.9.1.1 Commencing on the appropriate day of the month following
the Effective Date, the Class 9 Claimants shall receive amounts equal to the
monthly amounts due under their respective contracts with Debtors until their
claims are paid in full.

             4.9.1.2 Until paid in full, Class 9 Claimants shall retain their security
interests in Debtors’ equipment which secures the Class 9 Claimants' respective
claims.

           4.9.2 Class 9 is not impaired by the Plan.

4.10 Class 10 - Interests.

     4.10.1 Treatment. As of the Effective Date, all Interests shall be deemed
cancelled and rendered null and void. Holders of Interests shall not receive or


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retain any property under the Plan on account of such Interests, and no
distributions or dividends will be paid with respect to the Interests.

       4.10.2 Class 10 is impaired by the Plan. Holders of Interests are not
entitled to vote to accept or reject the Plan and Class 10 is deemed to have
rejected the Plan.

4.10 Provisions Related to Class 1, Class 2, and Class 3 Claims. The Plan
contains provisions that set forth the treatment of Claims of a kind specified in
Sections 507(a)(2) through 507(a)(10) of the Bankruptcy Code. Such treatment is
consistent with the requirements of Section 1129(a)(9) of the Bankruptcy Code,
and the holders of such Claims are not entitled to vote on this Plan.
Notwithstanding any other provision of this Plan, pursuant to Section 1123(a)(1)
of the Bankruptcy Code, Claims under Sections 507(a)(2) through 507(a)(10) of
the Bankruptcy Code are not designated as classes of Claims for purposes of
this Plan and all references in this Plan to Class 1, Class 2 and/or Class 3 Claims
are for organizational purposes and convenience of reference only.

                                    ARTICLE V.

       MEANS FOR IMPLEMENTATION AND EXECUTION OF THE PLAN

5.1 Funding of Plan. The Distributions contemplated by this Plan shall be
made through the use of earnings and revenues of the Debtors and the
Reorganized Debtor during the pendency of the Cases and following the
Effective Date, including without limitation the cash collateral, which is subject to
Branch Banking & Trust Co.’s Secured Claim until such claim is paid in full
pursuant to this Plan. In addition, Debtor has arranged to borrow such sums as
are necessary from the Facilitator Lenders to implement this Plan. The
Facilitator Lenders will loan the Reorganized Debtor $550,000.00, in exchange
for a first priority security interest and a second priority security interest,
respectively, encumbering all assets of the Reorganized Debtor, except those
subject to purchase money security interests. Further, the Distributions will be
funded by the purchase of new membership interests in the Reorganized Debtor
by Donald Aronin, Warren Lampert, Lori E. Kirschner and Helaine O. Lasky for
the total sum of $495,000.00 on the Effective Date. Additional loans to the
Reorganized Debtor may be made by Erica Aronin, if needed for the
Reorganized Debtor’s operations.

5.2 Extinguishment of Certain Causes of Action. On the Effective Date,
pursuant to Section 1123(b) of the Bankruptcy Code, except as otherwise
provided in the Plan, all Avoidance Actions and D&O Actions that the Debtors or
the Estates had or had power to assert immediately prior to the Confirmation
Date shall be extinguished.

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5.3 Settlement of Claims. Debtors shall be authorized to resolve objections to
Claims without notice or further order of the Court.

5.4 Exclusive Right to Modify Plan. Debtors shall retain the exclusive right to
amend or modify the Plan, and to solicit acceptances of any amendments to, or
modifications of, the Plan until and including the Confirmation Date.

5.6 Effectuating Documents; Further Transactions. Debtors shall be
authorized to execute, deliver, file, and/or record such contracts, instruments,
releases, indentures, and other agreements or documents, and to take such
actions as may be necessary or appropriate to effectuate and further evidence
the terms and conditions of the Plan.

                                   ARTICLE VI.

                ACCEPTANCE OR REJECTION OF THE PLAN

6.1 Classes Entitled to Vote. Each impaired Class (other than Class 10) shall
be entitled to vote to accept or reject the Plan. Class 10 is deemed to have
rejected the Plan and is not entitled to vote on the Plan. Each unimpaired Class
of Claims shall be deemed to have accepted the Plan, and shall not be entitled to
vote to accept or reject the Plan.

6.2 Claim Designation. The Plan Proponent reserves the right to seek to
designate, pursuant to Section 1126(e) of the Bankruptcy Code, any Claimholder
whose vote on the Plan was submitted for an improper purpose or was otherwise
not submitted in good faith.

                                   ARTICLE VII.

                  PROVISIONS REGARDING DISTRIBUTIONS

7.1 Date of Distributions to Creditors.           Payments to holders of Allowed
Claims shall be paid as provided for in Article IV of this Plan.

7.2 Interest on Claims. Except as provided in a Final Order entered in the
Bankruptcy Case, (a) no holder of any Claim, other than the holders of a Claim in
Classes 6, 7, 8 or 9, shall be entitled to interest accruing on or after the Petition
Date on such Claim, and (b) interest shall not accrue or be paid upon any
Disputed Claim with respect to the period from the Petition Date to the date a
Distribution is made thereon if and after such Disputed Claim, or any part thereof,
becomes an Allowed Claim.



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7.3 Method of Payment. The Reorganized Debtor shall be the Disbursing
Agent under the Plan. All payments made pursuant to this Plan shall be in Cash
or by any means reasonably selected by the Reorganized Debtor, including
check or wire transfer.

7.4 Unclaimed Property.

        7.4.1 Unclaimed Property shall include (a) checks (and the funds
represented thereby) which have been returned as undeliverable without a
proper forwarding address, (b) funds for checks which have not been presented
and paid within ninety (90) days of their issuance, (c) checks (and the funds
represented thereby) which were not mailed or delivered because of the absence
of a proper address to mail or deliver such property and (d) checks (and the
funds represented thereby) which are not mailed due to the lack of required tax
identification information, but only following two mailed requests for this tax
identification information.

       7.4.2 For a period of the later of one year following the first Distribution to
a Class of Claims or 180 days after a Distribution is made to a claimant on
account of which Unclaimed Property first results (said period being hereinafter
referred to as the "Claiming Period"), Unclaimed Property shall be held solely for
the benefit of the holders of Allowed Claims which have failed to claim such
property. During the Claiming Period, Unclaimed Property due the holder of an
Allowed Claim shall be released and delivered to such holder upon presentation
of proper proof by such holder of its entitlement thereto.

       7.4.1 In the event that there is Unclaimed Property with regard to any
Claim, Debtor shall, until such Unclaimed Property is claimed or the Claiming
Period with regard to the holder of such Claim has expired, retain all subsequent
Distributions due with regard to such Claim.

      7.4.2 After the Claiming Period with regard to such holder has expired, no
subsequent Distributions shall be made on account of such Claim, and such
Claim shall be treated as being disallowed, waived, and satisfied; provided,
however, that the Claiming Period may be extended for the holder of any Allowed
Claim by agreement between the Claimant and Debtor. At the end of the
Claiming Period, the holder of an Allowed Claim theretofore entitled to Unclaimed
Property shall cease to be entitled thereto and the Unclaimed Property shall
become the property of the Reorganized Debtor.

       7.4.3 All parties entitled to participate in Distributions under this Plan shall
be required to notify the Debtor in writing of any change in the address to which
Distributions are to be sent.


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     7.4.4 These provisions shall apply without regard to any applicable non-
bankruptcy laws with respect to unclaimed property.

7.5 Rounding. Whenever any payment of a fraction of a cent would otherwise
be called for, the actual payment made by the Reorganized Debtor may reflect a
rounding of such fraction down to the nearest whole cent.

7.6 DeMinimus Payments. Debtors shall not issue payments pursuant to this
Plan on account of any Claim for which the Distribution would equal $15.00 or
less.
                               ARTICLE VIII.

   TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

8.1 Assumption. Executory contracts and unexpired leases that have not been
previously assumed or rejected shall be deemed assumed as of the Effective
Date.

8.2 Cure of Defaults. All cure payments which may be required by Section
365(b)(1) of the Code under any executory contract or unexpired lease shall be
made by the Reorganized Debtor on the Effective Date or as soon as practicable
thereafter except as otherwise provided in Section 4.5 hereof. In the event of a
dispute regarding the amount of any cure payment, the ability of the Reorganized
Debtor to provide adequate assurance of future performance or any other matter
pertaining to assumption or assignment, the Reorganized Debtor shall make
such cure payments required by Section 365(b)(1) of the Code following the
entry of a Final Order resolving such dispute. The Reorganized Debtor shall cure
all other non-bankruptcy defaults existing under any executory contract or
unexpired lease assumed.

8.3 Claims for Damages. Each person who is a party to an executory contract
or unexpired lease, previously rejected by Debtors during the pendency of the
Cases shall be entitled to file, not later than thirty (30) days after Court approval
of such rejection, a proof of claim for damages alleged to arise from the rejection
of such executory contract or unexpired lease to which such Person is a party.
Payment of such Claim (consistent with the payments received by holders of
other Claims in the Class into which such Claim falls, as determined by Section
8.4 hereof) shall be made on the later of (I) the tenth (10th) day after the
expiration of the time for filing an objection in respect of any proof of claim
provided it is a Business Day, or the first Business Day thereafter if the tenth day
is not a Business Day and (ii) the tenth (10th) day after the Claim has been
allowed by a Final Order provided it is a Business Day, or the first Business Day
thereafter if the tenth day is not a Business Day, provided that no such payments
shall be made before the Effective Date.

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8.4 Classification of Claims. Allowed Claims arising out the rejection of
executory contracts or unexpired leases shall be Class 4 Claims.

                                   ARTICLE IX.

                        RETENTION OF JURISDICTION

       Until the Cases are closed, the Court shall retain jurisdiction over all
matters arising out of or relating to the Cases, including, but not limited to, the
following matters:

9.1 To determine the allowance or classification of Claims or Interests under this
Plan and to determine any objections thereto;

9.2 To construe and to take any action to enforce this Plan and to issue such
orders as may be necessary for the implementation, execution and
consummation of this Plan;

9.3 To determine all applications          for   allowance   of   compensation   or
reimbursement of expenses;

9.4 To determine any other request for payment of Administrative Expenses;

9.5 To resolve any dispute regarding the implementation or interpretation of this
Plan;

9.6 To determine any and all motions pending on Confirmation for the rejection,
assumption or assignment of executory contracts or unexpired leases and the
allowance of any Claim resulting therefrom;

9.7 To determine all applications, motions, adversary proceedings, contested
matters and other litigated matters that may be pending in this Court on or
initiated after the Effective Date;

9.8 To determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

9.9 To modify the Plan pursuant to Section 1127 of the Code, or to remedy any
apparent nonmaterial defect or omission in this Plan, or to reconcile any
nonmaterial inconsistency in this Plan so as to carry out its intent and purpose;

9.10 To enter an order or final decree closing the Cases;



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9.11 To determine matters under Section 505 of the Code relating to any tax for
which the Reorganized Debtor may be liable;

9.12 To consider and act on the compromise and settlement of any claim
against the Debtors or Debtors-in-Possession or their Estates;

9.13 To determine all questions and disputes regarding title to the assets of the
Debtors, Debtors-in-Possession, the Estates or the Reorganized Debtor; and

9.14 To construe, enforce and resolve all questions and disputes relating to
employment agreements existing or approved by the Court at or prior to
Confirmation.

                                    ARTICLE X

                       EFFECTIVE DATE OF THE PLAN

10.1 Effective Date. This Plan shall take effect on the Effective Date.

                                    ARTICLE XI

                                   CRAM-DOWN

      Debtors hereby requests confirmation pursuant to the "cramdown"
provisions of Section 1129(b) of the Bankruptcy Code with respect to any
impaired Class that votes to reject the Plan.

                                   ARTICLE XII.

                       SUBSTANTIVE CONSOLIDATION

       Debtors hereby request that the Confirmation Order provide for the
substantive consolidation of Tile Outlets of America, LLC, and TOA Holdings, Inc.
into one entity, the Reorganized Debtor, under 11 U.S.C. § 105 and Federal Rule of
Bankruptcy Procedure 1015.

                                   ARTICLE XIII.

                                MISCELLANEOUS

13.1 Headings. The headings of the articles, sections and subsections of this
Plan are inserted for convenience only and shall not affect the interpretation
hereof.


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13.2 Binding Effect. The Plan shall be legally binding upon and inure to the
benefit of the Debtors, the Estates, the holders of Claims, the holders of
Interests, the holders of Shares, and their respective successors and assigns.

13.3 Notices. Any notice required or permitted to be provided to the Debtors
under the Plan shall be in writing and served by overnight courier service or by
certified mail, return receipt requested, addressed as follows:

To Debtors:
Tile Outlets of America, LLC
TOA Holdings, Inc.
c/o Don Aronin
3845 Holcomb Bridge Road
Suite 100
Norcross, Georgia 30092
with a copy to:

Karen Fagin White, Esquire
Cohen Pollock Merlin & Small, P.C.
3350 Riverwood Parkway
Suite 1600
Atlanta, GA 30339

13.4 Prepayment. Unless the Plan or the Confirmation Order otherwise
provides, the Reorganized Debtor shall have the authority to prepay, without
penalty, all or any portion of an Allowed Claim at any time.

13.5 Amendment to the Debtors’ Organizational Documents. As of the
Effective Date, the Debtors’ organizational documents shall be deemed amended
to include a provision that prohibits the issuance of nonvoting equity securities to
the extent required by Section 1123(a)(6) of the Bankruptcy Code.

13.6 Identity of Principals of the Reorganized Debtor. Don Aronin and
Warren Lampert will serve as officers of the Reorganized Debtor. Don Aronin will
be the President and chief operating officer of the Reorganized Debtor. Warren
Lampert will serve as Executive Vice President and Chief Financial Officer of the
Reorganized Debtor.

13.7 Amendments and Modifications. This Plan may be altered, amended or
modified by Debtors at any time, subject, however, to Section 1127 of the Code.
This Plan may not be altered, amended or modified without the written consent of
Debtors. Debtors may withdraw this Plan at any time.



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13.8 Retention of Property of the Estate. Except to the extent the same is
disposed of in accordance with the provisions of this Plan, the Reorganized
Debtor shall retain all of the property of the Estates within the meaning of Section
541 of the Code.

13.9 Discharge. The Reorganized Debtor shall receive a discharge of any
indebtedness owed to any creditors for which payment is not provided in this
Plan and to the full extent authorized in Section 1141(d) of the Code.

13.10 Severability. If any section[s] or provision[s] of this Plan is found to be
contrary to law or unenforceable, then at the option of the Debtors, such
section[s] or provision[s] shall be deemed no longer a part of this Plan.

13.11 Continuation of all Retiree Benefits. To the extent applicable to the
Reorganized Debtor, all retiree benefits, as that term is defined in Section 1114
of the Code, shall be continued in accordance with Section 1129(a)(13) of the
Code.

13.12 Objections to Claims and Interests. All objections to any claim or
interest shall be filed by the Debtors or other party in interest no later than sixty
(60) days after the Effective Date.

13.13 Applications for Compensation of Professional Persons. Except with
respect to requests for compensation for services performed on and after
Confirmation, each Person retained or requesting compensation in the Cases,
pursuant to Section 327, 328, 330, 331, 503(b) or 1113 of the Code, shall be
entitled to file an application for allowance of final compensation and
reimbursement of expenses in the Cases until not later than thirty (30) days after
the Effective Date. Objections to each such application may be filed on or before
the twentieth day thereafter.

13.14 Payment of Compensation to Professional Persons for Services
Rendered after Confirmation. Compensation and reimbursement of expenses
earned and incurred by professionals performing services for the Reorganized
Debtor after Confirmation shall be paid by the Reorganized Debtor monthly after
rendition of bills to the Reorganized Debtor, and no further applications for
compensation or reimbursements of expenses shall be necessary or required
unless a dispute arises in regard thereto; in the event of any such dispute, the
same shall be resolved by the Court after notice and hearing.

13.15 U.S. Trustee Fees. The Debtors and the Reorganized Debtor, as
appropriate, shall cause to be paid any and all fees of the Office of the United
States Trustee as and when such fees become due.


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           Respectfully submitted this 16th day of October, 2009.

                                                 COHEN POLLOCK
                                                 MERLIN & SMALL, P.C.
                                                 Counsel for Debtors


     /s/ Don Aronin                                    /s/ Karen Fagin White
Don Aronin                                       Gus H. Small
President and Chief Operating                    GA Bar No.: 653200
Officer, Tile Outlets of America LLC             Karen Fagin White
                                                 GA Bar No.: 754450
                                                 Anna M. Humnicky
                                                 GA Bar No.: 377850
    /s/ Don Aronin                               3350 Riverwood Parkway
Don Aronin                                       Suite 1600
Secretary, TOA Holdings, Inc.                    Atlanta, GA 30339
                                                 (770) 858-1288
                                                 Fax: (770) 858-1277
                                                 gsmall@cpmas.com
                                                 kfwhite@cpmas.com
                                                 ahumnicky@cpmas




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                                   EXHIBIT “B”

                         LIQUIDATION ANALYSIS




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                       Summary Analysis of Proceeds Available for Unsecured Claims

                                                                                Business     Business
                                                          GOB Sale GOB Sale Liquidation     Liquidation
                                                             High      Low        High          Low
                      Total Proceeds                     $1,989,755 $1,297,750 $904,755      $519,000
                Total Costs of Liquidation               $1,006,547 $884,378    $466,428     $245,993
              Net Proceeds for Distribution               $983,209 $413,373     $438,328     $273,007
                   Total Secured Claims                   $900,639 $413,373     $438,328     $273,007
Total Administrative/Priority Claims                      $64,907       $0         $0            $0
         Total Available for Unsecured Claims              $17,663      $0         $0            $0
   Chapter 11 Administrative/Priority Claims Shortfall        $0     $64,907    $64,907       $64,907
               General Unsecured Claims                  $2,700,000 $2,700,000 $2,700,000   $2,700,000
                 Secured Claims Shortfall                     $0     $487,267   $462,311     $627,632
                Real Estate Lease Claims                  $710,312 $710,312     $710,312     $710,312
                 Total Unsecured Claims                  $3,410,312 $3,962,486 $3,937,530   $4,102,851
        Unsecured Claims Percentage Recovery                0.52%     0.00%      0.00%         0.00%
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                                                     Tile Outlets of America, LLC and Subsidiary Liquidation Analysis
                                                                       As Of September 30, 2009

                                                                                  Going Out of Business Sale Scenario            Business Liquidation Scenario
                                                                 Book                          Recovery                                    Recovery
Notes                                                            Value         Low       Low %         High       High %       Low     Low %       High    High %
        Gross Proceeds Available for Distribution
 1                              Cash                            $100,000 $100,000        100.00%      $100,000     100.00%   $100,000   100.00%   $100,000   100.00%
 2                     Credit Card Receivables                  $60,000    $51,000       85.00%       $58,200      97.00%     $51,000   85.00%     $58,200   97.00%
 3                        Prepaid Expenses                      $100,000      $0          0.00%        $6,750       6.75%       $0       0.00%      $6,750    6.75%
 4                            Inventory                        $1,750,000 $1,093,750     62.50%      $1,610,000    92.00%    $315,000   18.00%    $525,000   30.00%
 5         Fixed Assets‐Purchase Money Security Interests       $115,000   $34,500       30.00%       $99,199      86.26%     $34,500   30.00%     $99,199   86.26%
 5                       Fixed Assets‐Other                     $185,000   $18,500       10.00%       $37,000      20.00%     $18,500   10.00%     $37,000   20.00%
 6                          Other Assets                        $80,622       $0          0.00%       $78,606      97.50%       $0       0.00%     $78,606   97.50%
        Total Proceeds                                         $2,390,622 $1,297,750     54.29%      $1,989,755    83.23%    $519,000   21.71%    $904,755   37.85%

        Costs Associated with Liquidation
 7                     Chapter 7 Trustee Fees                                $57,653       4.44%      $78,197       3.93%     $21,650 4.17% $40,578 4.48%
 8                        Professional fees                                  $50,000       3.85%      $100,000      5.03%     $50,000 9.63% $100,000 11.05%
 9                       Wind‐Down Costs                                    $776,725      59.85%      $828,350     41.63%    $174,343 33.59% $325,850 36.02%
        Total Costs                                                         $884,378      68.15%     $1,006,547    50.59%    $245,993 47.40% $466,428 51.55%

        Net Proceeds Available for Distribution                             $413,373      31.85%      $983,209     49.41%    $273,007 52.60% $438,328 48.45%

                                                               Allowable      Low       Low       High      High      Low      Low      High     High
                                                                 Claim      Recovery Recovery % Recovery Recovery % RecoveryRecovery %RecoveryRecovery %
        Pre‐Petition Secured Claims
                       Avaya Financial Services                   $1,200       $700       58.33%        $1,200     100.00%      $700    58.33% $1,200 100.00%
                       Branch Banking & Trust                   $801,439    $378,873      47.27%      $801,439     100.00%   $238,507   29.76% $339,128 42.31%
                        Court Square Leasing                      $4,000      $1,200      30.00%        $4,000     100.00%     $1,200   30.00% $4,000 100.00%
                             GE Capital                          $48,000     $14,400      30.00%       $48,000     100.00%    $14,400   30.00% $48,000 100.00%
                      Toyota Financial Services                  $35,000     $10,500      30.00%       $35,000     100.00%    $10,500   30.00% $35,000 100.00%
                                Orion                            $11,000      $7,700      70.00%       $11,000     100.00%     $7,700   70.00% $11,000 100.00%
 10     Total Secured Claims                                    $900,639    $413,373      45.90%      $900,639     100.00%   $273,007   30.31% $438,328 48.67%

        Chapter 11 Administrative/Priority Claims
                       Administrative Claims                       $0          $0        100.00%         $0        100.00%     $0       100.00%     $0       100.00%
                         Priority Tax Claims                     $4,907        $0        100.00%       $4,907      100.00%     $0       100.00%     $0       100.00%
                        Other Priority Claims                      $0          $0        100.00%         $0        100.00%     $0       100.00%     $0       100.00%
                   Post‐Petition Trade and Other                $60,000        $0         0.00%       $60,000      100.00%     $0        0.00%      $0        0.00%
 11     Total Chapter 11 Administrative/Priority Claims         $64,907        $0         0.00%       $64,907      100.00%     $0        0.00%      $0        0.00%

        Net Proceeds Available for Unsecured Claims                            $0                     $17,663                  $0                   $0

        Unsecured Claims
                     General Unsecured Claims                  $2,700,000
                      Secured Claims Shortfall                              $487,267                     $0                  $627,632             $462,311
               Administrative/Priority Claims Shortfall                     $64,907                      $0                  $64,907              $64,907
                         Real Estate Leases                     $710,312
 12     Total Unsecured Claims ‐ Low GOB                       $3,962,486
 12     Total Unsecured Claims ‐ High GOB                      $3,410,312
 12     Total Unsecured Claims ‐Low Liquidation                $4,102,851
 12     Total Unsecured Claims ‐High Liquidation               $3,937,530
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        Liquidation Expenses ‐ Going Out of Business Sale

                                   Month 1
    Expense Item           SSC        FM      Tpa      Total
      Personnel         $18,000     $50,000 $50,000
      Advertising          $0       $40,000 $50,000
      Occupancy          $4,500     $44,000 $38,000
      Equipment          $1,000      $2,500  $2,500
  Shipping/Supplies       $250      $1,800   $2,000
       Services          $5,000     $12,000 $12,000
        Other              $0        $1,000  $1,000
Total Expenses ‐ Mo 1   $28,750    $151,300 $155,500 $335,550

                                   Month 2
    Expense Item          SSC         FM      Tpa
      Personnel           $0        $40,000 $30,000
      Advertising         $0        $40,000 $25,000
      Occupancy           $0        $44,000 $38,000
      Equipment           $0         $2,500  $2,500
  Shipping/Supplies       $0        $1,800  $15,000
       Services           $0        $12,000  $6,000
        Other             $0         $1,000  $5,000
Total Expenses ‐ Mo 2     $0       $141,300 $121,500 $262,800

                                   Month 3
    Expense Item          SSC         FM          Tpa
      Personnel           $0        $15,000        $0
      Advertising         $0           $0          $0
      Occupancy           $0        $44,000        $0
      Equipment           $0         $2,000        $0
  Shipping/Supplies       $0        $1,800         $0
       Services           $0         $1,200        $0
        Other             $0         $5,000        $0
Total Expenses ‐ Mo 3     $0        $69,000        $0       $69,000

                          High        Low
Liquidator's Expense    $161,000    $109,375

   Total Expenses       $828,350    $776,725
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      Liquidation Expenses ‐ Going Out of Business Sale

                                Month 1
    Expense Item           SSC    FM      Tpa     Total
      Personnel         $13,000 $15,000 $15,000
      Advertising          $0      $0      $0
      Occupancy          $4,500 $44,000 $38,000
      Equipment          $1,000  $2,500  $2,500
  Shipping/Supplies       $250  $1,800  $2,000
       Services          $5,000  $1,000  $1,000
        Other              $0    $1,000  $1,000
Total Expenses ‐ Mo 1   $23,750 $65,300 $59,500 $148,550

                                  Month 2
    Expense Item          SSC       FM      Tpa
      Personnel           $0      $15,000 $15,000
      Advertising         $0         $0      $0
      Occupancy           $0      $44,000 $38,000
      Equipment           $0       $2,500  $2,500
  Shipping/Supplies       $0      $1,800  $2,000
       Services           $0       $1,000  $1,000
        Other             $0       $1,000  $1,000
Total Expenses ‐ Mo 2     $0      $65,300 $59,500 $124,800


                         High       Low
Liquidator's Expense    $52,500   $25,793

   Total Expenses       $325,850 $174,343
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                            Real Estate Lease Summary

  Lease      Termination Date   Annual Base Rent   Annual Passthroughs     Total
Fort Myers   January 31, 2016      $318,000             $54,000          $372,000
  Tampa       August 31, 2013      $179,760            $128,400          $308,160
 Norcross      June 30, 2011        $30,152                $0             $30,152
   Total                           $527,912            $182,400          $710,312
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               Assumptions and Notes to Liquidation Analysis
         TOA Holdings, Inc., Tile Outlets of America, LLC and Subsidiary

Gross Proceeds Available for Distribution

   1. Cash. This includes cash on hand and in banks. The estimated recovery for this
      asset is 100%.

   2. Credit Card Receivables. This includes amounts due and owing from VISA,
      MasterCard, Discover and American Express. The estimated recovery for this
      asset ranges from 85% to 97% depending upon chargeback activity.

   3. Prepaid Expenses. This represents amounts prepaid for insurance (key man
      life, liability, property, and worker’s compensation), service contracts (security
      monitoring, HVAC maintenance, and software maintenance), advertising (Yellow
      Pages), legal services and miscellaneous other items. The estimated recovery
      amount assumes contract cancellation is effective as of October 1, 2009, and
      that 100% of pre-payments attributable to the remaining contract term are
      recovered.

   4. Inventory. Inventory is comprised of stock on hand at store locations and
      product in transit for which payment to the supplier has been made. The analysis
      includes both a “going out of business” sale scenario as well as an immediate
      cessation of business and a wholesale liquidation of assets.

      The “going out of business sale” analysis assumes an orderly liquidation of
      inventory over a 60 day period followed by a wholesale liquidation of any
      remaining inventory over an additional 30 day period. The estimated high
      recovery assumes an orderly liquidation of 90% of inventory via the “going out of
      business sale” at an average of 100% of book value followed by a wholesale
      liquidation of 10% of inventory over an additional 30 day period at an average of
      20% of book value. The estimated low recovery assumes an orderly liquidation of
      75% of inventory via the “going out of business sale” at an average of 80% of
      book value followed by a wholesale liquidation of 25% of inventory over an
      additional 30 day period at an average of 10% of book value. It is also assumed
      that all inventory remaining at the Tampa store location is transferred to the Fort
      Myers store location after 45 days and that all wind down activity at the Tampa
      location is completed within 60 days.
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      The “business liquidation” analysis assumes an immediate cessation of business
      and a wholesale liquidation of inventory and a complete wind down of activities
      over a 60 day period. The estimated high recovery assumes an average of 30%
      of book value is realized while the low recovery assumes an average of 18% of
      book value is realized.

   5. Fixed Assets. Fixed assets, net of depreciation, are comprised of computer
      equipment, furniture and fixtures, leasehold improvements, office equipment,
      software, and warehouse equipment located at the store locations and corporate
      headquarters. The estimated recovery rates reflect the fact that certain of the
      fixed assets are subject to capital leases secured by the fixed asset, the effects
      of being in chapter 7, and the current resale market for used assets of the type
      included among the fixed assets.

   6. Other Assets. Other assets include lease deposits, utility deposits,
      organizational costs, trademark costs, and miscellaneous other assets of no
      value. The estimated recovery rates of the lease and utility deposits are 100%
      net of offset applied by the holder of such deposits. The organizational and
      trademark costs have no value.

Costs Associated with Liquidation

   7. Trustee Fees. Trustee fees are estimated in accordance with section 326 of the
      Bankruptcy Code at 25% of the first $5,000 of liquidation proceeds, 10% of
      proceeds greater than $5,000 but less than $50,000, 5% of proceeds greater
      than $50,000 but less than $1 million, and 3% of proceeds greater than $1
      million. Cash and credit card receivables are excluded from liquidation proceeds
      for purposes of this calculation.

   8. Professional Fees. It is assumed that the trustee will retain the services of a law
      firm, accounting firm, and asset liquidation firm to assist in the liquidation of
      assets and wind-down of the Debtors’ estate and that each of these
      professionals will need to familiarize themselves with the debtor and its business
      and assets.

   9. Wind-Down Expenses. This includes estimated expenses that would be
      incurred to liquidate assets and wind-down the Debtors’ estate. Such expenses
      include employee wages and benefits, general overhead costs, and advertising
      expense. It is also assumed that the services of a liquidation specialist are
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      retained and that compensation is equal to 10% of the proceeds realized from
      the sale of inventory and fixed assets.

Claims

   10. Secured Claims. It is assumed that all secured debt, including accrued and
       unpaid interest, owed by Debtor to BB&T is paid in full to the extent of available
       proceeds. All other secured claims are assumed to be paid to the extent of the
       liquidation value of the underlying collateral. Any claim that is not satisfied by the
       value of the underlying collateral is included in the estimated amount for
       unsecured claims.

   11. Chapter 11 Administrative and Priority Claims. This includes all chapter 11
       administrative claims, tax and priority claims that are senior to general unsecured
       claims, post-petition trade and other claims, and any incremental administrative
       claims resulting from the termination of Debtors’ business.

   12. General Unsecured Claims. This includes pre-petition contract rejection claims,
       pre-petition trade payables as well as estimates for incremental contract and
       lease rejection claims that would result from liquidation of Debtors’ business. If
       Debtors’ chapter 11 cases are converted to chapter 7 proceedings, the amount of
       unsecured claims would materially increase as a result of the rejection of the Fort
       Myers and Tampa store leases as well as the corporate home office lease in
       Norcross, Georgia. These claims would enjoy equal priority with Debtors’ current
       unsecured claims and would ultimately reduce the proceeds available for
       distribution to Debtors’ current unsecured creditors.
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                                   EXHIBIT “C”

              PROJECTED REVENUES AND EXPENSES




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Tile Outlets of America
Projected Monthly Income Statements
Consolidated

                                                                                                                                                                                                                                                                           Annual
                                       Projected  Projected  Projected  Projected  Projected  Projected  Projected  Projected  Projected  Projected  Projected  Projected                                                                                              Actual + Proj.
                                        Jan-10     Feb-10     Mar-10      Apr-10    May-10     Jun-10      Jul-10    Aug-10     Sep-10      Oct-10    Nov-10     Dec-10                                                                                                      2010
Sales                                    $762,448   $780,384   $981,374   $753,148   $662,800   $962,833   $645,824   $637,148   $906,398   $792,795   $792,795   $792,795                                                                                                   $9,470,740
Cost of Sales                               438,394            448,574            563,216            433,258            382,265            552,744            372,728            367,818            520,959            455,647            455,647            456,755          5,448,007
                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------
Gross Profit                                324,053            331,810            418,157            319,890            280,535            410,089            273,096            269,330            385,439            337,147            337,147            336,040          4,022,733
                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------

Personnel Expense                           167,401           167,703            205,239            166,355           163,195            204,764            155,497           154,526            192,040           158,449            158,233            188,120           2,081,523
                                                                                                                                                                                                                                                                                                                    Case 09-61261-pwb




Advertising                                  28,885            29,915             38,053             29,252            25,866             37,308             25,510            25,098             35,620            30,817             30,817             30,817             367,958
Occupancy Expense                            87,856             87,535             90,877            88,805             89,440             93,948            91,883             91,288             92,800            89,373             89,108            90,976           1,083,888
Equipment Expense                             4,174              4,174              5,384             4,174              4,174              5,384             4,184              4,184              5,394             4,184              4,184             5,394              54,988
Supplies & Postage                                0                  0                  0                 0                  0                  0                 0                  0                  0                 0                  0                 0                   0
Administrative Expenses                      27,833             28,207             35,509            27,630             25,727             33,754            25,475             25,293             32,697            28,573             28,573            30,310             349,581
                                                                                                                                                                                                                                                                                                                    Doc 149




Interest Expense(net)                         5,530              5,468              5,406             5,343              5,280              5,216             5,151              5,088              5,024             4,962              4,901             4,838              62,206
(Gain/)Loss on Sale of Assets                     0                  0                  0                 0                  0                  0                 0                  0                  0                 0                  0                 0                   0
Taxes                                         8,000              8,000              8,000             8,000              8,000              8,000             8,000              8,000              8,000             8,000              8,000             8,000              96,000
Depreciation                                  6,183              6,183              6,225             6,220              6,189              6,192             6,192              6,192              6,234             6,131              6,101             6,113              74,154

                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------
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Total SG & A                                335,862            337,185            394,692            335,779            327,870            394,567            321,892            319,669            377,809            330,489            329,917            364,567          4,170,298

                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------
Net Income (Loss) from Operations           (11,809)             (5,375)            23,465           (15,889)           (47,335)             15,522           (48,796)           (50,339)               7,630              6,659              7,230          (28,528)          (147,565)
                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------

SSC Overhead Allocation                               0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0
                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------
SL Rent Reserve Adjustment                            0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0
                                                                                                                                                                                                                                                                                                             Page 52 of 53




Restructuring Costs                                   0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0                  0
                                      ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------ ------------------


Net Income (Loss)                          (11,809)             (5,375)            23,465          (15,889)           (47,335)             15,522          (48,796)           (50,339)              7,630              6,659              7,230          (28,528)       (147,565)
                                      ========== ========== ========== ========== ========== ========== ========== ========== ========== ========== ========== ==========                                                                                            ==========
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Tile Outlets of America
Projected Annual Income Statements


                                                Projected
                                                 FY2010

Sales                                       $       9,470,740
Cost of Sales                                        5,448,007

Gross Profit                                         4,022,733


Personnel Expense                                    2,081,523
Advertising                                             367,958
Occupancy Expense                                    1,083,888
Equipment Expense                                          54,988
Administrative Expenses                                 349,581
Interest Expense(net)                                      62,206
(Gain/)Loss on Sale of Assets                                    ‐
Taxes                                                      96,000
Depreciation                                               74,154


Total SG & A                                         4,170,298


Net Income (Loss) from Operations                      (147,565)
